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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

JANE DOE                                   )       CASE NO. 5:23-CV-00121-AMK
                                           )
                             Plaintiff,    )       MAGISTRATE JUDGE AMANDA
                                           )       KNAPP
-v-                                        )
                                           )
DETECTIVE LARRY BROWN, et al.              )       MOTION FOR JUDGMENT
                                           )       ON THE PLEADINGS
                             Defendants.   )


       Now come Defendants Larry Brown and Sheriff Kandy Fatheree, by and through

undersigned counsel, and hereby move this Court to dismiss the Plaintiff’s Complaint. The basis

for this motion is fully explained in the following memorandum.




                                                   Respectfully submitted,

                                           SHERRI BEVAN WALSH
                                           Prosecuting Attorney


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                                 MEMORANDUM IN SUPPORT

   I. FACTS

         The Plaintiff, Jane Doe (hereinafter “Doe”), originally filed this suit in 2021 in the

Summit County Court of Common Pleas, but the Defendants removed it to this Court. Doe

dismissed the case without prejudice and refiled the case within the timeframe allowed under

Ohio law.

         Doe brings this suit as a result of her arrest on October 15, 2020 for prostitution.

Complaint ⁋ 10. Doe’s arrest for prostitution was originally charged as a felony for soliciting

after an HIV positive test, under R.C. 2907.24. Complaint ⁋ 2. It was later learned that Doe did

not have an HIV positive test and was not HIV positive. Upon such information, the felony

charge was dismissed and Doe was re-charged on October 23, 2020 with misdemeanor

solicitation. Complaint ⁋ 21. Exhibit A. Doe ultimately pled no contest a misdemeanor charge

of attempt, under R.C. 2923.02. Exhibit B.

         Doe states that someone published Doe’s arrest online and she suggests that the publisher

failed to correct the posting when the charges against Doe were reduced. Complaint ⁋ 19. She

does not allege that either defendant controls the publisher, but only that the public information

of her arrest was provided to the publisher. Complaint ⁋ 20.

         Relevant Facts Omitted from Complaint – Judicial Notice

         As stated by the 6th Circuit in Hancock v. Miller, 852 F. App'x 914, 919–20 (6th Cir.

2021):

         [A] court deciding a motion to dismiss may consider “other materials that are
         integral to the complaint, are public records, or are otherwise appropriate for the
         taking of judicial notice.” Wyser-Pratte Mgmt. Co. v. Telxon Corp., 413 F.3d 553,
         560 (6th Cir. 2005); see also McLaughlin v. CNX Gas Co., LLC, 639 F. App'x
         296, 298 (6th Cir. 2016) (“We may also consider documents that a defendant
         attaches to a motion if the documents ‘are referred to in the plaintiff's complaint



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       and are central to her claims’ without converting the motion to one for summary
       judgment.”) (quoting Weiner v. Klais & Co., 108 F.3d 86, 89 (6th Cir. 1997)).
       Because a juvenile court order is appropriate for judicial notice, the district court
       could consider it to demonstrate the adjudicative fact that the order was issued
       and what it said—though not for the truth of the facts asserted— without
       converting the 12(b)(6) into a summary judgment motion. See In re Omnicare,
       Inc. Sec. Litig., 769 F.3d 455, 467 (6th Cir. 2014).

       Federal Rule of Evidence 201

       (b) Kinds of Facts That May Be Judicially Noticed. The court may judicially
       notice a fact that is not subject to reasonable dispute because it:
          (1) is generally known within the trial court's territorial jurisdiction; or
          (2) can be accurately and readily determined from sources whose accuracy
          cannot reasonably be questioned.
       (c) Taking Notice. The court:
          (1) may take judicial notice on its own; or
          (2) must take judicial notice if a party requests it and the court is supplied with
          the necessary information.
       (d) Timing. The court may take judicial notice at any stage of the proceeding.


       The Defendants ask that this Court take judicial notice of the fact that Doe pled no-

contest to the reduced charge of solicitation. This charge was referenced in the Complaint, but

its disposition was omitted. The Stow Municipal Court records cannot be reasonably disputed

and are generally known and accessible within this Court’s jurisdiction. The basis for this suit

centers on a supposed favorable termination of the charges of solicitation after positive HIV test.

While Doe admits that she was re-charged with soliciting, she fails to state that she pled no-

contest to that charge and was found guilty by the court. The Stow Municipal Court records

clearly set forth these facts. Doe makes no allegation that her conviction was appealed or

otherwise over-turned. Certified copies of Doe’s municipal court records are attached to this

motion. Furthermore, the Defendants request that the Court take judicial notice of Doe’s many

other arrests and convictions in every court in Summit County, as this history is relevant to

Doe’s claim for intentional infliction of emotional distress.




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   II. STANDARD OF REVIEW

       For a motion under Rule 12(c), motion for judgment on the pleadings, the same standard

of review applicable to a motion to dismiss under Rule 12(b)(6) is applied. Tucker v.

Middleburg-Legacy Place, LLC, 539 F.3d 545, 549 (6th Cir. 2008). For the purpose of a motion

to dismiss, the facts as alleged in the complaint must be assumed to be true. A motion to dismiss

pursuant to Fed.R.Civ.P. 12(b)(6) tests the sufficiency of a plaintiff's complaint. The Court views

the complaint in the light most favorable to the plaintiff and “[f]actual allegations must be

enough to raise a right to relief above the speculative level ... on the assumption that all the

allegations in the complaint are true.” Bell Atlantic v. Twombly, 550 U.S. 544, 555, 127 S.Ct.

1955, 1965 (2007). To survive a motion to dismiss for failure to state a claim upon which relief

may be granted, a complaint must plead sufficient specific factual allegations, and not just legal

conclusions, in support of each claim. Ashcroft v. Iqbal, 556 U.S. 662, 678–679, 129 S.Ct. 1937,

173 L.Ed.2d 868 (2009).

   III. ARGUMENT

   A. False Arrest Claim

       Doe appears to be bringing her false arrest claim under Ohio law. “Under Ohio law, the

tort of false arrest is essentially the same as false imprisonment.” Day v. DeLong, 358 F. Supp.

3d 687, 709–10 (S.D. Ohio 2019), citing Rogers v. Barbera, 170 Ohio St. 241, 243, 164 N.E.2d

162 (1960) (citation omitted). “A claim for false arrest is indistinguishable from a claim for false

imprisonment in its essential elements-each claim requires proof that one was intentionally

confined within a limited area, for any appreciable time, against his will and without lawful

justification.” Watenza v. Dayton, No. 21984, 2008 WL 501479, ¶ 48 (Ohio App. 2008), citing

Evans v. Smith, 97 Ohio App.3d 59, 646 N.E.2d 217 (1994) (citing Feliciano v. Kreiger, 50 Ohio




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St.2d 69, 362 N.E.2d 646 (Ohio 1977) ). “Thus, ‘to succeed on a claim of false arrest or

imprisonment, a plaintiff must establish that the defendants were without legal authority to arrest

and detain him and that the detention was not accomplished pursuant to accepted legal

procedures.’ ” Id., citing Krantz v. City of Toledo Police Dept., 365 F.Supp.2d 832, 837 (N.D.

Ohio 2005) (citing McFinley v. Bethesda Oak Hosp., 79 Ohio App.3d 613, 607 N.E.2d 936

(1992) ).

       In a false arrest claim brought under 42 U.S.C. § 1983, a plaintiff must prove that the

arresting officer lacked probable cause to arrest the plaintiff. Day v. DeLong, 358 F. Supp. 3d

687, 709 (S.D. Ohio 2019), citing Voyticky v. Vill. of Timberlake, Ohio, 412 F.3d 669, 677 (6th

Cir. 2005) (citation omitted). False arrest is not a continuing tort, thus, any Defendants who did

not arrest Plaintiff, cannot be held liable for false arrest. See McCune v. City of Grand Rapids,

842 F.2d 903, 905-06 (6th Cir. 1988) (arrestee's cause of action accrued on the date of arrest;

wrongful arrest and wrongful incarceration do not constitute a continuing tort). “To state a claim

of false arrest, a plaintiff must “prove that the arresting officer lacked probable cause to arrest”

her.” D.D. v. Scheeler, 645 Fed.Appx. 418, 424 (6th Cir. 2016). “Probable cause is reasonable

grounds for belief, supported by less than prima facie proof but more than mere suspicion.” Id.

“A police officer has probable cause only when he discovers reasonably reliable information

that the suspect has committed a crime.” Parsons v. City of Pontiac, 533 F.3d 492, 500 (6th Cir.

2008) (emphasis in original). “[I]n obtaining such reliable information, an officer cannot look

only at the evidence of guilt while ignoring all exculpatory evidence.” Id. “Rather, the officer

must consider the totality of the circumstances, recognizing both the inculpatory and exculpatory

evidence, before determining if he has probable cause to make an arrest.” Id. See also, Smith v.

Sandusky Newspapers, Inc., No. 3:17CV1135, 2018 WL 1315155, at *4 (N.D. Ohio Mar. 14,




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2018).

         Ohio courts have held that guilty and no contest pleas bar later actions for false arrest or

false imprisonment. See, e.g., Courtney v. Rice, 46 Ohio App. 3d 133, 136-37, 546 N.E.2d 461

(Ohio Ct. App. 1988) (a guilty finding in a criminal case bars an action for false arrest or

imprisonment); Favor v. Ohio State Univ., 2010 WL 4053284, 2010 Ohio Misc. LEXIS 277

(Ohio Ct. of Claims) (“Under Ohio law ... ‘[a] guilty finding in a criminal proceeding, whether

by trial or plea, constitute an absolute defense to an action for false arrest or false imprisonment.’

”) (quoting Espy v. Sears, Roebuck & Co., 1976 WL 189474, 1976 Ohio App. LEXIS 8213

(Ohio Ct. App.)); Carpenter v. Meade, 1994 WL 64256, at *2 (Ohio Ct. App.) (finding where

plaintiff pled no contest to charges, “reasonable minds could come to only one conclusion

regarding plaintiff's claims of ... false arrest and false imprisonment, and that conclusion is

adverse to plaintiff.”).

         The Sixth Circuit Court of Appeals has similarly interpreted Ohio law as barring

plaintiffs from later litigating false imprisonment claims after a no contest plea to charges of

disorderly conduct in state court. See Jackim v. Sam’s East, Inc., 378 F. App'x 556, 561 (6th Cir.

2010) (citing Walker v. Schaeffer, 854 F.2d 138 (6th Cir. 1988) (plaintiff's no contest plea in

state court collaterally estopped pursuit of § 1983 action for unlawful seizure based upon lack of

probable cause for arrest as she conceded existence of probable cause in no contest plea)). As the

Jackim court explained, “Plaintiff had the option of insisting upon a trial where [his] acquittal

would have cleared the way for this lawsuit. [He] chose to forego [his] opportunity to litigate it

by pleading no contest, and is precluded from taking a different position in this forum.” 378 F.

App'x at 562; see also Lassen v. Lorain County, 2014 WL 3511010, at *5 (N.D. Ohio)

(“Allowing his unlawful detention claim to proceed would directly contradict the finding that he




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was indeed guilty for the assault for which he was arrested [and to which he pled no contest],

because it would negate the probable cause for arrest that arose from the assault.”).

        In the instant case, Doe pled no contest and was found guilty to a reduced charge. Doe is

attempting to isolate the initial charge from the reduced charge and say that the dismissal of the

felony charge resolved the case in her favor. This ignores the totality of the situation where the

felony charge was dismissed and a lesser charge was substituted.

        In Crawley v. City of Syracuse, No. 5:17-CV-1389, 2018 WL 3716782, at *3 (N.D.N.Y.

Aug. 3, 2018), the court cited Devenpeck v. Alford, 543 U.S. 146, 153 (2004), “[t]he [Supreme]

Court rejected the view that probable cause to arrest must be predicated upon the offense

invoked by the arresting officer, or even upon an offense “closely related” to the offense invoked

by the arresting officer, and stated that the “subjective reason for making the arrest need not be

the criminal offense as to which the known facts provide probable cause.” Jaegly, 439 F.3d at

153. “[A] claim for false arrest turns only on whether probable cause existed to arrest a

defendant, and that it is not relevant whether probable cause existed with respect to each

individual charge, or, indeed, any charge actually invoked by the arresting officer at the time of

arrest. Id. at 154.

        Doe’s no contest plea is conclusive evidence that probable cause existed for her arrest.

As such, her claim of false arrest must fail.

    B. Malicious Prosecution Claim

        Doe again appears to be bringing her malicious prosecution claim under Ohio law.

Georgin v. Georgin, 2022-Ohio-4328, ¶ 15, 204 N.E.3d 1, 6–7 sets forth the standard for a

malicious prosecution claim in Ohio.

        To prevail on a claim for malicious prosecution, the plaintiff must prove (1)
        malice in initiating or continuing the prosecution, (2) lack of probable cause, and



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       (3) termination of the prosecution in favor of the accused. Betzko, 2022-Ohio-999,
       187 N.E.3d 18 at ¶ 21. The core of any action for malicious prosecution is lack of
       probable cause. Id. If the plaintiff cannot show lack of probable cause, the claim
       for malicious prosecution fails as a matter of law. Id. Probable cause exists when
       the facts and circumstances are such that a cautious individual would be
       warranted in the belief that the person accused is guilty of the offense with which
       he or she is charged. Barnes v. Meijer Dept. Store, 12th Dist. Butler No. CA2003-
       09-246, 2004-Ohio-1716, 2004 WL 720906, ¶ 13. Whether the accused actually
       committed an offense is not pertinent to a probable cause determination. Id.

       Similar to a false arrest claim, if probable cause existed, then the claim of malicious

prosecution must fail. As argued above, a no contest plea to a reduced charge is conclusive that

probable cause existed and the prosecution did not terminate in Doe’s favor.

       This standard is essentially the same in a Section 1983 context.

       “Probable cause is generally defined as a ‘fair probability’ that the individual to
       be arrested has either committed or intends to commit a crime.” Huffer v. Bogan,
       1:10-cv-312-HJW, 2011 WL 5037209, *11 (S.D. Ohio 2011). Further, “ ‘the
       want of probable cause is the real gist of the [malicious prosecution] action.’
       ” Id., quoting Harris v. United States, 422 F.3d 322, 328 (6th Cir. 2005).
       “Probable cause exists where ‘facts and circumstances within the officer's
       knowledge ... are sufficient to warrant a prudent person, or one of reasonable
       caution, in believing, in the circumstances shown, that the suspect has committed,
       is committing, or is about to commit an offense.’ ” Mechler v. Hodges, S.D. Ohio
       No. C-1-02-948, 2006 WL 2927253, *3 (October 11, 2006), quoting Michigan v.
       DeFillippo, 443 U.S. 31, 37, 99 S.Ct. 2627, 61 L.Ed.2d 343 (1979). The existence
       of probable cause should be determined by the totality of the circumstances, an
       analysis that includes a realistic assessment of the situation from a law
       enforcement officer's perspective. Id. [Emphasis added.]

       Day v. DeLong, 358 F. Supp. 3d 687, 706 (S.D. Ohio 2019)


       “[A] plaintiff asserting a malicious prosecution claim under § 1983 must ... show
       that the underlying criminal proceeding ended in a manner that affirmatively
       indicates h[er] innocence.” Lanning v. City of Glens Falls, 908 F.3d 19, 22 (2d
       Cir. 2018); Thompson v. Clark, 794 Fed. App’x 140, 141 (2d Cir. 2020) (holding
       that a dismissal in the interest of justice “is by itself insufficient to satisfy the
       favorable termination requirement”), cert. granted, No. 20-659, 2021 WL 922983
       (U.S. Mar. 11, 2021).

       Here, Plaintiff alleges that she accepted a plea bargain and pleaded guilty to
       reduced charges; in other words, the prosecution did not terminate in her favor.



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       Although Plaintiff argues that there were various deficiencies in her criminal
       proceedings (e.g., her plea was not knowing and voluntary), she does not allege
       that her conviction “has been reversed on direct appeal, expunged by executive
       order, invalidated by a state tribunal authorized to make such determinations, or
       otherwise called into question by a federal court’s issuance of a writ of habeas
       corpus.” Wilkinson v. Dotson, 544 U.S. 74, 81-82 (2005) (relying on Heck v.
       Humphrey, 512 U.S. 477, 486-87 (1994)). Plaintiff thus fails state a claim on
       which relief can be granted for malicious prosecution.

       Lewis v. Hoovler, 2021 WL 1299491, (U.S. District Court, S.D. New York).

       For the above stated reasons, Doe’s malicious prosecution claim must fail under both

state and federal law.

   C. 42 U.S.C. 1983 Claim

       Doe’s Section 1983 claim appears to rely on her claims for false arrest, malicious

prosecution, and a supposed lack of probable cause based on the original felony charge. Again,

she fails to recognize that her no contest plea to the reduced charge precludes her Section 1983

claims under Heck v. Humphrey, 512 U.S. 477, 114 S.Ct. 2364, 129 L.Ed.2d 383 (1994)


       Under Heck, a plaintiff cannot bring a § 1983 claim after being convicted of a
       criminal offense that arises from the same acts that underlie the civil suit. [Heck v.
       Humphrey, 512 U.S. 477, 487, 114 S.Ct. 2364, 129 L.Ed.2d 383 (1994)]. This is
       because these kinds of claims necessarily imply the invalidity of the underlying
       conviction, which undermines the finality of convictions. Abella v. Rubino, 63
       F.3d 1063, 1065 (11th Cir. 1995). To succeed where there is an underlying
       criminal conviction that would be undermined by § 1983 relief, plaintiffs “must
       prove that the conviction or sentence has been reversed on direct appeal,
       expunged by executive order, declared invalid by a state tribunal authorized to
       make such determination, or called into question by a federal court's issuance of a
       writ of habeas corpus.” Heck, 512 U.S. at 486–87, 114 S.Ct. 2364.

       The Heck doctrine bars all of the claims raised in Counts 2, 3, 4, and 8.
       Hoffman was originally charged with fraud and grand theft, but later pled
       nolo contendere, or no contest, to reduced charges of petit theft (a lesser
       included offense), and adjudication was withheld. Under Florida law, nolo
       pleas are considered convictions. Fla. Stat. § 960.291(3); Stephens v. DeGiovanni,
       852 F.3d 1298, 1319 (11th Cir. 2017). Because Hoffman's state criminal
       conviction stands, and Hoffman has not shown that her conviction was
       invalidated, Heck bars her malicious prosecution, false arrest, and failure-to-train



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       claims found in Counts 2, 3, 4, and 8. [Emphasis added.]

       Hoffman v. Beseler, 760 F. App'x 775, 779 (11th Cir. 2019)


       In Ohio, as under Florida law, a no contest plea constitutes an admission of the truth of

the facts alleged in the complaint and the judge or magistrate may make a finding of guilty or not

guilty from the explanation of the circumstances of the offense. See R.C. 2937.07.

       [ ] Ohio courts have held that guilty and no contest pleas bar later actions for false
       arrest or false imprisonment. See, e.g., Courtney v. Rice, 46 Ohio App. 3d 133,
       136-37, 546 N.E.2d 461 (Ohio Ct. App. 1988) (a guilty finding in a criminal case
       bars an action for false arrest or imprisonment); Favor v. Ohio State Univ., 2010
       WL 4053284, 2010 Ohio Misc. LEXIS 277 (Ohio Ct. of Claims) (“Under Ohio
       law ... ‘[a] guilty finding in a criminal proceeding, whether by trial or plea,
       constitute an absolute defense to an action for false arrest or false imprisonment.’
       ”) (quoting Espy v. Sears, Roebuck & Co., 1976 WL 189474, 1976 Ohio App.
       LEXIS 8213 (Ohio Ct. App.)); Carpenter v. Meade, 1994 WL 64256, at *2 (Ohio
       Ct. App.) (finding where plaintiff pled no contest to charges, “reasonable minds to
       come to only one conclusion regarding plaintiff's claims of ... false arrest and
       false imprisonment, and that conclusion is adverse to plaintiff.”).

       The Sixth Circuit Court of Appeals has similarly interpreted Ohio law as barring
       plaintiffs from later litigating false imprisonment claims after a no contest plea to
       charges of disorderly conduct in state court. See Jackim v. Sam’s East, Inc., 378 F.
       App'x 556, 561 (6th Cir. 2010) (citing Walker v. Schaeffer, 854 F.2d 138 (6th Cir.
       1988) (plaintiff's no contest plea in state court collaterally estopped pursuit of §
       1983 action for unlawful seizure based upon lack of probable cause for arrest as
       she conceded existence of probable cause in no contest plea)). As the Jackim
       court explained, “Plaintiff had the option of insisting upon a trial where [his]
       acquittal would have cleared the way for this lawsuit. [He] chose to forego [his]
       opportunity to litigate it by pleading no contest, and is precluded from taking a
       different position in this forum.” 378 F. App'x at 562; see also Lassen v. Lorain
       County, 2014 WL 3511010, at *5 (N.D. Ohio) (“Allowing his unlawful detention
       claim to proceed would directly contradict the finding that he was indeed guilty
       for the assault for which he was arrested [and to which he pled no contest],
       because it would negate the probable cause for arrest that arose from the
       assault.”).

       ***

       Plaintiff's no contest plea therefore forecloses his ability to bring a false arrest or
       false imprisonment claim in this court. Bretzloff's Motion for Judgment on the
       Pleadings as to Count VI of the Complaint is granted.



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          Saalim v. Walmart Inc., No. 3:21 CV 1481, 2022 WL 426178, at *4 (N.D. Ohio
          Feb. 11, 2022)


          Doe’s Section 1983 claim must fail under Heck for the same reasons as her state claims

fail. Doe’s no contest plea and the entry of guilt by the Stow Municipal Court preclude these

claims.

   D. Intentional Infliction of Emotional Distress Claim

          Under Ohio law, four elements must be proved to recover for intentional infliction
          of emotional distress: 1) that the actor either intended to cause emotional distress
          or knew or should have known that actions taken would result in serious
          emotional distress to the plaintiff; 2) that the actor's conduct was so extreme and
          outrageous, that it went beyond all possible bounds of decency and that it can be
          considered utterly intolerable in a civilized community; 3) that the actor's actions
          were the proximate cause of the plaintiff's psychic injury; and 4) that the mental
          anguish suffered by the plaintiff is serious and of a nature that no reasonable
          person can be expected to endure it. Miller v. Currie, 50 F.3d 373 (6th Cir.1995);
          Pyle v. Pyle, 11 Ohio App.3d 31, 34, 463 N.E.2d 98, 103 (Cuyahoga Cty.1983)
          (citation omitted); Bellios v. Victor Balata Belting Co., 724 F.Supp. 514, 520
          (S.D.Ohio 1989).

          Smith v. GE Aviation, No. 3:10-CV-013, 2011 WL 4914964, at *3 (S.D. Ohio
          Aug. 31, 2011), report and recommendation adopted, No. 3:10-CV-13, 2011 WL
          4924997 (S.D. Ohio Oct. 17, 2011)


          The purpose of a motion to dismiss under Fed.R.Civ.P. 12(b)(6) is to test the
          sufficiency of the complaint, not to decide the merits of the case. Jackson v. Naph
          Care, Inc., 2011 U.S. Dist. LEXIS 94817 *3 (S.D.Ohio Aug. 24, 2011) (Black, J.)
          It is insufficient to make a formulaic recitation of the elements of a cause of
          action. Id. citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555, 127 S.Ct.
          1955, 167 L.Ed.2d 929 (2007). As a first step, the Court must identify any
          conclusory allegations. Id. citing Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937,
          1950, 173 L.Ed.2d 868 (2009). The second step is to determine whether the
          complaint states “a claim to relief which is plausible on its face.” Id. citing Iqbal,
          129 S.Ct. at 1949.

          Id. at *6.


          Doe’s complaint sets forth no facts showing that her claim meets any of the elements set



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forth, above. Her complaint simply sets forth the following conclusory statements: “She suffered

serious emotion injury.” Complaint ¶ 26. “The conduct of the Defendants was extreme and

outrageous.” Complaint ¶ 45. “The conduct was undertaken with intent to cause or in reckless

disregard of the probability that this conduct would cause severe emotional distress to Ms. Doe.”

Complaint ¶ 46. “These acts and omissions actually and proximately caused damage to Ms.

Doe.” Complaint ¶ 47. These conclusory statements are insufficient as a matter of law to state a

claim for intentional infliction of emotional distress. Ms. Doe has a long history of arrests and

convictions spanning nearly 20 years for a variety of offenses, including solicitation, theft,

obstruction of official business, contempt of court, escape, and drugs. These convictions include

both misdemeanor and felony offenses. For her instant claim, Doe fails to explain how this

arrest and charge caused her to suffer such serious mental anguish that no reasonable person

would be expected to endure, or what facts would indicate this. Furthermore, Doe fails to set

forth facts showing the basis for her claim that the defendants acted with intent or recklessness

and such act went beyond all possible bounds of decency in making the initial charge. Given

Doe’s background, it strains credulity that this charge caused the degree of anguish and distress

necessary to support her claim. The complaint relies on conclusory statements that do not meet

elements set forth in the Smith v. GE Aviation case, above.

       In evaluating a claim for negligent and intentional infliction of emotional distress, this

Court has previously stated in its grant of a motion for judgment on the pleadings:

       A complaint need not set down in detail all the particulars of a plaintiff's claim.
       However, “Rule 8 ... does not unlock the doors of discovery for a plaintiff armed
       with nothing more than conclusions.” Ashcroft v. Iqbal, 556 U.S. 662, 678–79,
       129 S.Ct. 1937, 173 L.Ed.2d 868 (2009) (This standard requires “more than an
       unadorned, the-defendant-unlawfully-harmed-me accusation.”) “Threadbare
       recitals of the elements of a cause of action, supported by mere conclusory
       statements, do not suffice.” Id. at 678 (citing Twombly, 550 U.S. at 555); see
       Gregory v. Shelby Cnty., 220 F.3d 433, 446 (6th Cir.2000) (the court should not



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  accept conclusions of law or unwarranted inferences couched in the form of
  factual allegations). The complaint “must contain either direct or inferential
  allegations respecting all the material elements to sustain a recovery under some
  viable legal theory.” Scheid v. Fanny Farmer Candy Shops, Inc., 859 F.2d 434,
  436 (6th Cir.1988) (quotation marks and citations omitted) (emphasis in original).

  *3 Although the pleading standard of Rule 8 does not require great detail, the
  factual allegations in the complaint “must be enough to raise a right to relief
  above the speculative level[.]” Twombly, 550 U.S. at 555 (citation omitted). In
  other words, “Rule 8(a)(2) still requires a ‘showing,’ rather than a blanket
  assertion, of entitlement to relief.” Id. at 556 n. 3 (criticizing the Twombly
  dissent's assertion that the pleading standard of Rule 8 “does not require, or even
  invite, the pleading of facts”).

  Engle v. City of Cuyahoga Falls, No. 5:14-CV-1161, 2015 WL 3852143, at *2–3
  (N.D. Ohio June 22, 2015)


  Additionally, for both negligent and intentional infliction of emotional distress,
  the alleged emotional distress must be serious, such that it constitutes “‘emotional
  injury which is both severe and debilitating[,]’ “ and goes beyond “ ‘mere upset or
  hurt feelings.’ “9 Reeves v. Fox Television Network, 983 F.Supp. 703, 711
  (N.D.Ohio 1997) (quoting Paugh v. Hanks, 6 Ohio St.3d 72, 451 N.E.2d 759, 765
  (Ohio 1983)); see also Meyers v. Hot Bagels Factory, Inc., 131 Ohio App.3d 82,
  721 N.E.2d 1068, 1076 (Ohio Ct.App.1999) (emotional injury element is the same
  for intentional and negligent infliction of emotional distress) (citing Uebelacker v.
  Cincom Sys., Inc., 48 Ohio App.3d 268, 549 N.E.2d 1210, 1220 (Ohio Ct.App.
  1988)). Rather, such emotional distress “may be found where a reasonable person,
  normally constituted, would be unable to cope adequately with the mental distress
  engendered by the circumstances of the case.” Paugh, 451 N.E.2d at 765.

  Plaintiff's allegations that she has sustained an emotional injury that is both severe
  and debilitating are thin. While plaintiff has pled facts that demonstrate that she
  was angry and embarrassed by the city officers' conduct (see Am. Compl. ¶ 14),
  such allegations fail to establish a severe emotional injury. See Doe v.
  SexSearch.com, 551 F.3d 412, 417 (6th Cir.2008) (allegation of embarrassment
  and harm to social standing insufficient to establish requisite injury for negligent
  infliction of emotional distress); Reeves, 983 F.Supp. at 711 (collecting cases
  providing that embarrassment or loss of reputation and self-esteem do not amount
  to serious emotional distress under Ohio law). Plaintiff also claims, however, that
  she has “experienced pain, suffering, mental anguish and serious emotional
  distress.”

  Id. at *11




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       In the present case, Doe has pled facts less detailed and less compelling than in the Engle

case. For that reason alone, Doe’s claim for infliction of emotional distress should be dismissed.

However, that is not the only reason. Doe’s no contest plea to a lesser offense shows that her

arrest by Defendant Brown was privileged.

       Conduct that might otherwise be extreme and outrageous, and thus actionable
       upon a claim for intentional infliction of emotional distress, is privileged when
       “the actor * * * has done no more than to insist upon his legal rights in a
       permissible way, even though he is well aware that such insistence is certain to
       cause emotional distress. * * * ” 1 Restatement of the Law 2d, Torts (1965) 76,
       Section 46, Comment g. Thus, when an employer discharges an at-will employee,
       the employer “has done no more than insist upon his legal rights” and bears no
       liability to the employee for any resultant emotional distress, regardless of
       whether the employer intended or reasonably should have anticipated that result.
       Foster v. McDevitt (1986), 31 Ohio App.3d 237, 31 OBR 520, 511 N.E.2d 403.

       Uebelacker v. Cincom Sys., Inc., 48 Ohio App. 3d 268, 277, 549 N.E.2d 1210,
       1220 (1988)


       Doe does not allege that the Defendants controlled the online dissemination of

information related to her arrest. Rather, these online services routinely publish information

based on public records requests that either the sheriff or the clerk of courts are obligated to

provide under Ohio law. See R.C. 149.43. To the extent that Defendant Brown mistakenly

charged Doe as being HIV positive, this is covered by immunity under R.C. 2744.02, which will

be discussed in the next section.

       For the foregoing reasons, Doe’s state law claim for intentional infliction of emotional

distress must be dismissed.

       E. Immunity

           1. Political Subdivision Immunity

       Defendant Sheriff Kandy Fatheree is sued in her official capacity, which is considered a

suit against the County of Summit. See Kentucky v. Graham, 473 U.S. 159, 165–66, 105 S. Ct.



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3099, 3105, 87 L. Ed. 2d 114 (1985), citing Monell v. New York City Dept. of Social Services,

436 U.S. 658, 690, n. 55, 98 S.Ct. 2018, 2035, n. 55, 56 L.Ed.2d 611 1978). (Official-capacity

suits, in contrast, “generally represent only another way of pleading an action against an entity of

which an officer is an agent.”). As such, the Defendants regard this Section 1983 suit as one

against the County of Summit, to which the Monell standard applies.

       This Court addressed the Monell standard in Engle v. City of Cuyahoga Falls, No. 5:14-

CV-1161, 2015 WL 3852143, at *5–6 (N.D. Ohio June 22, 2015).

       Plaintiff's “First Claim for Relief” purports to raise federal clams under the
       umbrella of 42 U.S.C. § 1983. Municipalities may not be held liable under § 1983
       upon a theory of respondeat superior. Rather, a government entity is responsible
       under § 1983 only “when execution of a government's policy or custom, whether
       made by its lawmakers or by those whose edicts or acts may fairly be said to
       represent official policy, inflicts the injury” alleged by the plaintiff. Monell, 436
       U.S. at 694. In short, the “official policy must be ‘the moving force of the
       constitutional violation’ in order to establish the liability of a government body
       under § 1983.” Polk Cnty. v. Dodson, 454 U.S. 312, 326, 102 S.Ct. 445, 70
       L.Ed.2d 509 (1981) (quoting Monell, 436 U.S. at 694) (further citation omitted).

       *6 The Sixth Circuit has recognized four avenues by which a plaintiff can prove
       the existence of a municipal policy that was the “moving force” behind a
       constitutional violation: (1) municipality's legislative enactments or official
       policies, (2) actions taken by an official with final decision-making authority, (3)
       a policy of inadequate training or supervision, or (4) a custom of tolerance or
       acquiescence of federal rights violations. Thomas v. City of Chattanooga, 398
       F.3d 426, 429 (6th Cir.2005). ***


       Doe has made absolutely no claims and has recited no facts tending to show that a custom

or policy of the County was a moving force behind any violation of a right held by Doe. In

Engle, this Court dismissed the plaintiff’s Monell claims for failing to make specific factual

allegations that could indicate a plausible claim against the City. The Court said:

       Without any factual allegations to support her Monell claim, plaintiff's allegations
       that the city failed to train and that this failure was the “moving force” behind the
       alleged constitutional violations ring hollow. Johnson v. Gannon, No. 3:09–0551,
       2010 WL 1658616, at *4 (M.D.Tenn. Apr.23, 2010) (“In determining whether



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       allegations of failure to train state a plausible claim for relief, the assertion of a
       legal conclusion about the involvement of supervisory personnel is insufficient
       because this is precisely the type of the-defendant-unlawfully-harmed-me
       allegation that the Supreme Court [in Iqbal ] has determined should not be given
       credence[.]”) (quotation marks and citation omitted); see, e.g., Pariscoff v.
       Columbus Police Dep't, No. 2:14–cv–00855, 2015 WL 1476651, at *3 (S.D.Ohio
       Mar.31, 2015) (dismissing Monell claim against municipality where plaintiff pled
       no specific allegations concerning the police department's training regime or
       policies). Moreover, while plaintiff references the violated rights of “other
       citizens,” she fails to allege any facts describing incidents involving any other
       citizen of the city, leaving her police encounter the only instance of alleged illegal
       activity. To support a Monell claim based on a “failure to train” theory of liability,
       a plaintiff must plead facts demonstrating a pattern of illegal activity. A single
       incident alleging illegal activity is generally insufficient to survive a Rule
       12(b)(6) motion to dismiss .4 See Mitchell v. City of Hamilton, No. 1:11–cv–764,
       2012 WL 701173, at *5 (S.D.Ohio Mar.1, 2012) (dismissing a Monell claim
       because the plaintiff had “pleaded facts concerning only a single set of wrongful
       acts toward him, not a policy or custom of inadequate training or supervision”).
       Because plaintiff has failed to set forth any allegations tying her alleged injuries
       to a municipal policy or custom, the Court DISMISSES the federal claims against
       the city.

       Engle at *6.


       Judge Lioi, in Engle, also addressed political subdivision immunity under Ohio law, R.C.

Chapter 2744, which equally applies to Doe’s state law claims. The Court stated:

       Section 2744 of the Ohio Revised Code extends to municipalities immunity from
       tort liability for governmental and propriety functions. Ohio Rev.Code §
       2744.02(A)(1); Chesher v. Neyer, 477 F.3d 784, 796 (6th Cir.2007). Plaintiff does
       not dispute that “government functions” include the operations of law
       enforcement. § 2744.01(C)(2)(a). There are, however, certain exceptions to the
       general grant of immunity spelled out in the statute. Specifically, immunity is not
       available to a municipality where: (1) injury or damage is caused by a municipal
       employee's negligent operation of a motor vehicle, § 2744.02(B)(1); (2) the losses
       are due to the negligent performance of employees with respect to proprietary
       functions of a political subdivision, § 2744.02(B)(2); (3) damages are the result of
       a municipality's negligent failure to keep public roads in repair, § 2744.02(B)(3);
       (4) damages are the result of a physical defect on the grounds of public buildings
       used for government functions, § 2744.02(B)(4); and (5) civil liability is expressly
       imposed by another provision of the Ohio Revised Code, § 2744.04(B)(5).
       Accepting the allegations in plaintiff's amended complaint as true, there can be no
       doubt that the city qualifies for immunity under Ohio Rev.Code § 2744.02(A)(1),
       as its employees were engaged in the governmental function of police activities



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       while on plaintiff's property. (See Am. Compl. ¶ 13 [“The acts and actions of the
       Officers were undertaken in their capacity as law enforcement officers of the City
       of Cuyahoga Falls and the Cuyahoga Falls Police Department....”].) Further, there
       are no exceptions that would apply to the circumstances described in the amended
       complaint, and plaintiff has not suggested otherwise. Thus, the Court finds that
       the city is entitled to immunity for plaintiff's state tort claims. See generally Hout
       v. City of Mansfield, 550 F.Supp.2d 701, 744 (N.D.Ohio 2008) (“Ohio courts have
       held that political subdivisions are entitled to immunity under § 2744.02 for the
       intentional torts committed by their employees.”) (collecting cases).

       Engle at *7.


       For these reasons, Sheriff Kandy Fatheree, in her official capacity must be dismissed.

        2. Immunity of Defendant Brown

       Defendant Brown, as the arresting police officer, is entitled to qualified immunity as to

the Section 1983 claim. This Court, in Ward v. City of E. Cleveland, No. 1:22-CV-00372, 2023

WL 2787965, at *3 (N.D. Ohio Apr. 5, 2023), stated:

       The United States Supreme Court has expressed the importance of “resolving
       immunity questions at the earliest possible stage in litigation.” Pearson v.
       Callahan, 555 U.S. 223, 232 (2009). The Sixth Circuit urges district courts
       deciding a motion to dismiss to consider qualified immunity by determining
       whether the plaintiff's complaint adequately alleges the commission of acts that
       violated clearly established law. Back v. Hall, 537 F.3d 552, 555 (6th Cir. 2008)
       (quoting Mitchell v. Forsyth, 472 U.S. 511, 526 (1985)). To show that a right was
       clearly established, the facts alleged in the complaint should be sufficiently clear
       that a reasonable officer would know that his actions were unlawful under those
       circumstances. Daily Servs., LLC v. Valentino, 756 F.3d 893, 900 (6th Cir. 2014).

       The Sixth Circuit has also cautioned district courts about granting Rule 12(b)(6)
       motions based on qualified immunity. Wesley v. Campbell, 799 F.3d 421, 433–34
       (6th Cir. 2015). Generally, qualified immunity should be raised in a motion for
       summary judgment, not a motion to dismiss. Grose v. Caruso, 284 F. App'x. 279,
       283 (6th Cir. 2008). In Grose, the plaintiff brought a § 1983 claim against
       correctional officials for violating her constitutional rights, and the defendants
       moved to dismiss under Rule 12(b)(6) based on qualified immunity. Id. at 280.
       The motion was denied by the district court and the decision affirmed by the Sixth
       Circuit because dismissal on that basis was premature; the plaintiff's complaint set
       forth sufficient allegations to trigger § 1983 liability. Id. at 283. See also
       McCombs v. Granville Exempted Vill. Sch. Dist., No. 2:07-cv-00495, 2009 WL
       467066, *7–8 (S.D. Ohio Feb. 24, 2009) (denying motion to dismiss since the



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       complaint alleged a constitutional violation, and at that point in the proceedings it
       would be premature to dismiss based on qualified immunity).

       Importantly, “matters outside of the pleadings are not to be considered by a court
       in ruling on a 12(b)(6) motion to dismiss.” Weiner v. Klais & Co., Inc., 108 F.3d
       86, 89 (6th Cir. 1997). If the parties refer to matters outside the pleadings and the
       Court considers those matters when ruling on the motion, it should treat the
       motion as one for summary judgment under Fed. R. Civ. P. 56. Jones v. City of
       Cincinnati, 521 F.3d 555, 557 (6th Cir. 2008). The Court may consider the
       complaint and its exhibits, public records, items in the record, and exhibits
       attached to the defendant's motion to dismiss if they are referenced in the
       complaint and central to the plaintiff's claims without converting the motion to
       a summary judgment motion. Bassett v. Nat'l Collegiate Athletic Ass'n, 528
       F.3d 426, 430 (6th Cir. 2008).

       ***

       *4 If extrinsic materials merely “fill in the contours and details of the plaintiff's
       complaint, and add nothing new,” they may be considered without converting the
       motion to one for summary judgment. Yeary v. Goodwill Indus.-Knoxville, Inc.,
       107 F.3d 443, 445 (6th Cir. 1997). If the Motion is converted, however, Fed. R.
       Civ. P. 56 requires this Court to consider only the pleadings, discovery responses,
       and affidavits, when deciding whether there is a genuine issue as to any material
       fact. Here, none of the documents attached to Defendants’ Motion are
       authenticated; Defendants filed no affidavit attesting to these records. The
       municipal court docket (B) is a public record, and thus reviewable by this
       Court. Bassett, 528 F.3d at 430. The police report (A), mayor's letter (C), internal
       affairs investigation report (D), and internal correspondence (E), all tend to fill in
       details of allegations within plaintiff's complaint, and are therefore also
       reviewable. Yeary, 107 F.3d at 445. [Emphasis added.]


       Qualified immunity is an immunity from suit, not merely a defense to liability. Pearson

v. Callahan, 555 U.S. 223, 129 S.Ct. 808, 815, 172 L.Ed.2d 565 (2009) (citing Mitchell v.

Forsyth, 472 U.S. 511, 526, 105 S.Ct. 2806, 86 L.Ed.2d 411 (1985)). To determine whether a

defendant is entitled to qualified immunity, the court looks to the function performed by the

actor, not the identity of the actor. Kalina v. Fletcher, 522 U.S. 118, 127, 118 S.Ct. 502, 139

L.Ed.2d 471 (1997); Buckley v. Fitzsimmons, 509 U.S. 259, 269, 113 S.Ct. 2606, 125 L.Ed.2d

209 (1993); Higgason v. Stephens, 288 F.3d 868, 877-78 (6th Cir.2002); Holloway v. Brush, 220




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F.3d 767, 774 (6th Cir.2000) (en banc). Under the doctrine of qualified immunity, government

officials performing discretionary functions are shielded from Section 1983 liability in their

individual capacity “insofar as their conduct does not violate clearly established statutory or

constitutional rights which a reasonable person would have known.” Phillips v. Roane Cnty., 534

F.3d 531, 538 (6th Cir. 2008) (quoting Harlow v. Fitzgerald, 457 U.S. 800, 818, 102 S.Ct. 2727,

73 L.Ed.2d 396 (1982)) (internal quotations omitted). The burden is on the plaintiff to show that

the defendants are not entitled to qualified immunity. Silberstein v. City of Dayton, 440 F.3d 306,

311 (6th Cir. 2006) (“Once the qualified immunity defense is raised, the burden is on the plaintiff

to demonstrate that the officials are not entitled to qualified immunity.”).

        Doe’s claims all presume a lack of probable cause resulting in false arrest and malicious

prosecution claims. As was shown in the preceding sections, Doe’s no contest plea to the

reduced charge is conclusive as to the existence of probable cause. It does not matter that the

charge is later reduced. See Crawley v. City of Syracuse, supra. Based on the facts alleged in

Doe’s complaint and her Section 1983 claim, she will be unable to show that Defendant Brown

violated a clearly established statutory or constitutional rights which a reasonable person would

have known.

        In addition to qualified immunity for the Section 1983 claims, Defendant Brown is also

immune under Ohio Revised Code 2744.02(A) as to Doe’s state law claims, as argued above

related to political subdivision immunity and Brown’s execution of a governmental function in

arresting Doe.

IV.     CONCLUSION

        For the above stated reasons, it is respectfully requested that the Plaintiff’s complaint be

dismissed.




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                                 Respectfully submitted,

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                               CERTIFICATE OF SERVICE


       The undersigned hereby certifies that on this 5th day of September, 2023 a true and

accurate copy of the foregoing Motion has been filed and served via the Court's electronic filing

system.




                                            /s/ Marrett W. Hanna
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